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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION

UNITED STATES OF AMERICA,                   )     Case No. 3:10CR004
                                            )
               Plaintiff,                   )     Judge James G. Carr
                                            )
       v.                                   )
                                            )     FINAL ORDER OF FORFEITURE
THOMAS V. WATTERS,                          )
                                            )
               Defendant.                   )

       WHEREAS, on January 6, 2010, an 11-count indictment was filed charging defendant

and others with violations of, inter alia, 21 U.S.C. §§ 841(a)(1) and 846, possession with intent to

distribute narcotics, and conspiracy to possess with intent to distribute narcotics. (Doc. 1).

       AND WHEREAS, the indictment further sought the forfeiture, pursuant to 21 U.S.C. §

853, of all property constituting or derived from any proceeds obtained directly and indirectly as

a result of the offenses charged, and any and all property used or intended to be used in any

manner or part to commit and to facilitate the commission of the violations alleged in the

indictment, including but not limited to funds in financial accounts, vehicles, real property, and

personal property, which property afforded defendants a source of influence over the enterprise

which the defendants established, operated, controlled, and conducted and participated in the

conduct of, in violation of 21 U.S.C. §§ 841(a) and 846, as set forth in Counts 1 through 29, as

property constituting and derived from proceeds which the above-listed defendants obtained,
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directly and indirectly, from the illegal trafficking activity charged.

       AND WHEREAS, on December 7, 2010, defendant THOMAS V. WATTERS entered a

plea of guilty to Count 1, conspiracy to possess with intent to distribute cocaine and marijuana,

violations of 21 U.S.C. §§ 841(a)(1) and 846. (Doc. n/a, Minutes of Proceedings on 12/7/2010).

       AND WHEREAS, on December 7, 2010, defendant THOMAS V. WATTERS signed a

plea agreement warranting that he is the sole owner of the property listed in its Paragraph 5 and

further described below, and agreed to waive all interest in the below-described property in any

administrative or judicial forfeiture proceedings.

       AND WHEREAS, on May 14, 2012, this Court issued a Preliminary Order of Forfeiture

instructing the United States to publish notice on the Department of Justice’s internet website at

www.forfeiture.gov to any third parties asserting a legal interest in the subject assets, the Court’s

Order and the United States’ intent to dispose of the subject assets in such manner as the Attorney

General may direct, pursuant to 21 U.S.C. § 853(n). (R. 216: Preliminary Order of Forfeiture; R.

2120: Declaration of Internet Publication).

       AND WHEREAS, no claims to the below-described asset was filed within the prescribed

time limitation.

       AND WHEREAS, the Judgment of defendant THOMAS V. WATTERS was filed on

March 10, 2015. (R. 263: Judgment and Commitment Order).

       Accordingly, it is hereby ORDERED, ADJUDGED AND DECREED:

       1.   The below-described asset is finally forfeited to the United States pursuant to 18

U.S.C. § 982(b) and 21 U.S.C. § 853(n), and no right, title or interest shall exist in THOMAS V.

WATTERS, or any other party.       Said asset is described as:

               $2,200.00 in U.S. Currency, seized on or about January 23, 2009



                                                  2
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and such asset is hereby forfeited to the United States for disposition in accordance with law,

subject to the provisions of 21 U.S.C. § 853(n)(1).

       2. The United States shall seize and take control of the subject asset, and shall dispose

of it in accordance with law and regulation.

       3. This Final Order of Forfeiture hereby extinguishes and renders invalid all other third

party claims of any kind whatsoever against the subject assets.

                              13th             March
               ORDERED this _________ day of __________________, 2015.




                                                  s/James G. Carr
                                               ___________________________________
                                               UNITED STATES DISTRICT JUDGE




                                                 3
